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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  KATHLEEN A. McCALLISTER
                                                  Case No. 4:20-cv-00112-DCN
         Appellant,
                                                  JUDGMENT
  v.

  ROGER A. EVANS and LORI A.
  STEEDMAN,

         Appellees.



       In accordance with the Memorandum Decision and Order entered on February 8,

2022, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment be

entered in favor of the Appellant, and this case closed.

                                                 DATED: February 10, 2022


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge




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